       Case 1:23-cr-00016-JHR          Document 165 Filed 10/04/24 Page 1 of 1
                                                 U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                      October 4, 2024
BY ECF
The Honorable Jennifer H. Rearden
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Sergey Shestakov, 23 Cr. 16 (JHR)

Dear Judge Rearden:

        The Government respectfully submits this letter in response to the defendant’s letter dated
September 27, 2024. (Dkt. 163). The defendant’s letter repeats allegations about the Government’s
discovery practices, including the Government’s request to file a motion pursuant to Section 4 of
the Classified Information Procedures Act (“CIPA”) and Fed. R. Crim. P. 16(d). Those allegations
are baseless. With respect to the timing of the Government’s CIPA filing, the Court set the briefing
schedule after both parties asked for an adjournment of the trial date and after the defendant raised
these same arguments with the Court. With respect to the Government’s discovery obligations, the
Government has complied and will continue to comply with them, and remains available to confer
with the defendant, as it has previously offered. As the Government has stated previously (e.g.,
Dkt. 155), if the defendant seeks relief from the Court, the Government will respond to that motion.
The Government is also available to answer any questions the Court may have.

       Finally, the defendant requests a conference following the Government’s September 30,
2024 CIPA submission. While the Government does not believe a conference is necessary to
address the defendant’s September 27, 2024 letter, which seeks no particular relief, the
Government is available should the Court wish to schedule a conference.

                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney

                                                  By: __/s/________________________
                                                      Rebecca T. Dell
                                                      Sheb Swett
                                                      Derek Wikstrom
                                                      Assistant United States Attorneys
                                                      (212) 637-2198 / -6522 / -1085
cc: Defense counsel (by ECF)
